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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


ENVIRONMENTAL MANUFACTURING
SOLUTIONS, LLC, and
HEARTLAND ENERGY GROUP
LTD.,

       Plaintiffs,                                   CASE NO. 6:18-cv-156-Orl-40KRS


v.

FLUID ENERGY GROUP, LTD.,
and CLAY PURDY,

       Defendants.
                                                     /

                                   NOTICE TO THE COURT

       Plaintiffs, ENVIRONMENTAL MANUFACTURING SOLUTIONS, LLC (“EMS”) and

HEARTLAND ENERGY GROUP, LTD. (“HEG”), by and through their undersigned counsel,

files this Notice to the Court pursuant to Local Rule 3.01(h).

       On March 6, 2018, Mr. Cheskin filed Defendant Fluid Energy Group, Ltd. (“Fluid

Energy”) and Defendant Clay Purdy (“Mr. Purdy,” together with Fluid Energy, the “Defendants”)

Motion to Dismiss Amended Complaint (Doc. 21). Plaintiffs filed their Response in Opposition

on March 30, 2018 (Doc. 41).         Magistrate Judge Karla Spaulding filed her Report and

Recommendation on May 9, 2018 (Doc. 45). Plaintiffs filed their Objection in Part to Report and

Recommendation on May 23, 2018 (Doc. 46); and Defendants filed their Response to Plaintiff’s

Objection on June 18, 2018 (Doc. 49). More than 180 days have passed since the filing of

Plaintiffs’ Response in Opposition (Doc. 41). While 180 days have not passed as of yet since the
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filing of Defendants Response to Plaintiff’s Objections (Doc. 49), expert report deadlines in the

instant case are quickly approaching such that a ruling on the Report and Recommendation is

crucial. Accordingly, Plaintiffs, EMS and HEG, now files this Notice to the Court pursuant to

Local Rule 3.01(h).


DATED this 19th day of November 2018.

                                            Respectfully submitted,

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                                            and Heartland Energy Group, Ltd.

                                     By:    /s/ Amber N. Davis
                                            Amber N. Davis
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                                            Kevin W. Wimberly
                                            Florida Bar No.: 057977

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically

filed with the Clerk of the Court utilizing the CM/ECF system this 19th day of November, 2018

which will electronically transmit an electronic copy to: Mark R. Cheskin, Esquire, Dwayne A.

Robinson, Esquire, HOGAN LOVELLS US LLP, 600 Brickell Avenue, Suite 2700, Miami, FL

33131.

                                            /s/ Amber N. Davis
                                            Attorney

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